        Case 6:17-cr-00018-SEH Document 167 Filed 12/28/17 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MONT ANA                   FILED
                                 HELENA DIVISION
                                                                      DEC 2 8 2017
                                                                   Clerk, U.S. District Court
                                                                      District Of Montana
                                                                             Helene

 UNITED STATES OF AMERICA,                  CR 17-18-H-SEH

                    Plaintiff,

          vs.

 ERNEST JABLONSKY dba
                                           ORDER
 MONTANA BIG GAME PURSUITS,
 JAMES V. DAY,
 RICHARD CEYNAR, and
 MITCH THEULE,

                    Defendants.




       Upon Petition of Mark Smith and Jeffrey K. Starnes, Assistant United States

Attorneys for the District of Montana, and good cause appearing therefore,

       IT IS HEREBY ORDERED that the earlier filed Writ of Habeas Corpus

(For Testimony) 1 filed December 20,2017, is replaced with the Writ of Habeas

Corpus (For Testimony) authorized by this Order.



' Doc. 115.
       Case 6:17-cr-00018-SEH Document 167 Filed 12/28/17 Page 2 of 2



      The Clerk of This Court shall issue a Writ of Habeas Corpus ( for testimony)

directing the Warden of Montana State Prison, the Sheriff of Cascade County and

the United States Marshal for the District of Montana, to produce James V. Day

(currently housed at the Cascade County Detention Center) before the Court in

Countroom I of the Paul G. Hatfield Cow1house, Helena, Montana, at 8:45 a.m. on

Tuesday, February 13, 2018, and James V. Day is to stay in federal custody until

the conclusion of his testimony. James V. Day shall then be returned to the

custody of the Warden of Montana State Prison.

      DATED this    J.,~y of December, 2017.


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                                      United States District Judge




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